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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                   HARRISON DIVISION

STEVEN J. DOERFLEIN                                                                      PLAINTIFF


V.                              CIVIL ACTION NO. 3:19-cv-3075-MEF


ANDREW M. SAUL, Commissioner
Social Security Administration                                                         DEFENDANT


                                       FINAL JUDGMENT


       This cause is before the Court on the Plaintiff’s complaint for judicial review of an

unfavorable final decision of the Commissioner of the Social Security Administration denying his

claim for disability benefits. The parties have consented to entry of final judgment by the United

States Magistrate Judge under the provisions of 28 U.S.C. § 636(c). The Court, having reviewed

the administrative record, the briefs of the parties, the applicable law, and the parties having waived

oral argument, finds as follows, to-wit:

       Consistent with the Court’s ruling from the bench, the decision of the Commissioner of

Social Security is reversed and remanded for further proceedings pursuant to sentence four of 42

U.S.C. § 405(g).

       The Court does not find substantial evidence to support the ALJ’s RFC determination in

this case. Light work requires that a claimant be able to stand or walk for six hours of an eight-

hour workday. Based on the evidence documenting Plaintiff’s persistent pain, reduced range of

motion, trigger points, asymmetric and antalgic gait, left lower extremity weakness, and abnormal

straight leg raise tests, the Court finds Plaintiff would not be able to stand and walk for six hours

out of an eight-hour workday.
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       On remand, the ALJ is also directed to reconsider the impact of Plaintiff’s physical

impairments on his mental abilities.

       IT IS SO ORDERED AND ADJUDGED on this the 19th day of October 2020.

                                                 /s/ Mark E. Ford
                                                 HON. MARK E. FORD
                                                 UNITED STATES MAGISTRATE JUDGE




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